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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION


IN RE:                                                    §
                                                                           CASE NO: 18-34915-H3-13
TERESA ANNE DELGADO,                                      §
                                                          §
Debtor                                                    §



                               Trustee’s Motion to Dismiss for Non-Payment

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE
AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED.
IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY
DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


THERE WILL BE A HEARING ON THIS MOTION ON JUNE 10, 2024 AT 1:00 P.M. IN
COURTROOM #402, 515 RUSK AVENUE, HOUSTON, TX       77002. YOU MAY ATTEND
VIRTUALLY OR IN PERSON. TO ATTEND VIRTUALLY, YOU MUST CONNECT BY
SEPARATE AUDIO AND VIDEO CONNECTIONS. THE AUDIO CONNECTION IS
832-917-1510. THE CODE IS 999276. THE VIDEO CONNECTION IS AT gotomeeting.com.
THE CODE IS JudgeRodriguez.

    Tiffany D. Castro, Trustee, moves to dismiss or convert this case based on Debtor's failure to make
required payments. As of this motion’s filing date, Debtor is delinquent $4,097.02, an amount
constituting not less than two (2) months¹ of required payments. An itemized payment history may be
obtained by accessing the National Data Center's website at www.NDC.org.




¹ Unless the remaining plan term is less than 2 months.                                        TR MTD BNC
                                                                                                batch POST
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NOTICE TO DEBTORS: YOU MUST DO ONE OF THE FOLLOWING WITHIN 21 DAYS OF
THE DATE THIS WAS SERVED ON YOU:

   1. BRING YOUR PAYMENTS CURRENT.

   2. FILE A RESPONSE OR REQUEST FOR HEARING.

IF YOU FAIL TO DO EITHER OF THE ABOVE, THE BANKRUPTCY COURT MAY DISMISS
YOUR BANKRUPTCY CASE WITHOUT A HEARING, AT ITS DISCRETION.

     Therefore, Trustee prays that the Court dismiss the case, convert to Chapter 7, or grant such other
relief as may be deemed just and appropriate.



                                                        Respectfully Submitted,

                                                         /s/ Tiffany D. Castro, Trustee
                                                        Tiffany D. Castro, Trustee
                                                        Admissions Id. No.24052172
                                                        Kenneth P. Thomas, Staff Attorney
                                                        Admissions Id. No. 1347
                                                        9821 Katy Freeway, Suite 590
Houston, TX 77024
(713) 722-1200 Telephone
(713) 722-1211 Facsimile
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                                         Certificate of Service

        I certify that this pleading was sent via first-class mail or electronic service to Debtor, Debtor's
Attorney, the U.S. Trustee, and all parties requesting notice on April 16, 2024.



                                                               _/s/ Tiffany D. Castro_______
                                                                 Tiffany D. Castro, Trustee
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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION
IN RE:                              §
                                                     CASE NO: 18-34915-H3-13
TERESA ANNE DELGADO                 §
DEBTOR                              §
                                    §

                                          Order of Dismissal

1. On the chapter 13 trustee's motion, this case is dismissed. The Court's reasons for dismissal were
stated on the record in open court.

2. The deadline for filing an application for an administrative expense in this case is set at 21 days
following the entry of this Order. The deadline for filing a motion for allowance of a claim arising under
§ 507(b) in this case is also set at 21 days following entry of this order.

3. If an application for allowance of professional fees and expenses has previously been filed in this
case, the applicant is not required to file a new application for allowance of an administrative expense
under § 503, if the new application only seeks allowance of the same professional fees and expenses
previously requested.

4. Any prior order directing an employer or other person to pay funds to the chapter 13 trustee is
terminated. Any prior order authorizing an ACH or other means of electronic payment is terminated.


5. The Court finds good cause to direct the payment of funds held by the chapter 13 trustee at the
time of entry of this Order as follows:

      (a) First, the balance on hand in the Emergency Savings Fund will be paid to the Debtor;

      (b) Second, to any unpaid chapter 13 trustee’s statutory compensation;

      (c) Third, the balance on hand in the Reserves for ad valorem taxes, to the holder of the claim
      secured by the senior security interest against the property for which the Reserves were
      established;

      (d) Fourth, the balance in any other Reserve account to the Debtor;

      (e) Fifth, to any unpaid payments mandated to be made by the Trustee under a prior Court
      order, including but not limited to any mandated adequate protection payments;
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      (f) Sixth, to pay any unpaid fees to Debtor's attorneys and to reserve for any filed applications
      for which no order has yet been entered; and

      (g) Seventh, to the Debtor.

Any party-in-interest objecting to the “for cause” distributions under this paragraph must file an
objection within 14 days of entry of this Order. The chapter 13 trustee will defer making distributions
under this paragraph until the next ordinary disbursement date following the later of (i) 22 days
following entry of this Order; or (ii) entry of an order resolving any timely filed objection.
